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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


GREATER BIRMINGHAM                )
MINISTRIES,                       )
                                  )
     Plaintiff,                   )
                                  )         CIVIL ACTION NO.
     v.                           )           2:22cv205-MHT
                                  )                (WO)
JOHN H. MERRILL, in his           )
official capacity as              )
Secretary of State of the         )
State of Alabama,                 )
                                  )
     Defendant.                   )

                                ORDER

    Based on the representations made on the record

today, it is ORDERED that:

    (1) Defendant John H. Merrill’s motion to dismiss

(Doc. 12) is denied.         The legal arguments are carried

with the case.

    (2) Plaintiff Greater Birmingham Ministries is to

file an amended complaint, as set forth during oral

argument today, by June 2, 2022.

    (3) The parties, after conferring with each other

and attempting to reach an agreement, are to submit, by
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June 7, 2022, a proposal or proposals for expedited

discovery.

    DONE, this the 31st day of May, 2022.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
